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FoR THE wEsTERN DISTRICT oF TENNESSEE O%FDY_"Q PW I‘r
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UNITED STATES OF AMERICA,
vs. No. 02-20428-Bv

MICHELLE EGGLESTON¢

\_¢Vv\-J\_¢\-d\.¢

Defendant.

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL
AND APPOINTING COUNSEL FOR APPEAL

 

Before the court is the motion of attorney Cynthia Pensoneau,
seeking an order from this court allowing her to withdraw from the
representation of the defendant Michelle Eggleston as appointed
counsel. Ms. Pensoneau represented defendant at the trial level,
and the defendant was sentenced on March 31, 2005. The government
has appealed the sentence, and counsel is unable to continue
representation of defendant. The court finds the motion should be
granted.

IT IS THEREFORE ORDERED that Cynthia Pensoneau be and hereby
is allowed to withdraw as counsel for the defendant and is relieved
from further representation of the defendant. Counsel will be
appointed from the CJA list of attorneys to represent defendant for
the appeal.

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IT IS SO ORDERED this day of May, 2005.

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DIANE K. VESCOVO

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 227 in
case 2:02-CR-20428 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

Cynthia A. Pensoneau
SHEA MOSKOVITZ, PLC
530 Oak Court Dr.

Ste. 350

Memphis7 TN 38117

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

